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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION

UNITED STATES OF AMERICA                     §
                                             §
VS.                                          §      Docket No. 4:12-cr-40005-002(SOH)
                                             §
CHRYSTAL LYNN LARCADE                        §

                              ORDER TO FILE UNDER SEAL

       Now on this 19th day of March, 2014, came on for consideration the Defendant’s Motion
to File Under Seal, and upon consideration of same, the Court is of the opinion that said Motion
should be granted.
       NOW THEREFORE, it is ordered that the Defendant’s Sentencing Memorandum be filed
in the above-entitled and numbered cause UNDER SEAL.
       Entered on this 19th day of March, 2014.


                                                    /s/ Susan O. Hickey
                                                    SUSAN O. HICKEY
                                                    UNITED STATES DISTRICT JUDGE
